                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION


UNITED STATES OF AMERICA,                 )                 DOCKET NO.: 3:06CR51
          Plaintiff                       )
vs.                                       )
                                          )                 ORDER UNSEALING
RICARDO DURAN, et al.,                    )                   INDICTMENT
            Defendant.                    )
                                          )
_________________________________________ )

       UPON MOTION of the United States of America, by and through Gretchen C.F. Shappert,

United States Attorney for the Western District of North Carolina, for an order directing that the

Indictment in the above-captioned case be unsealed; and

       IT APPEARING TO THE COURT that there no longer exists any danger to the attendant

investigation in this case;

       NOW, THEREFORE, IT IS ORDERED that the Superseding Bill of Indictment in the above-

captioned case be unsealed.



                                                Signed: July 19, 2006




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